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                Attachment 4

U.S. Customs & Border Patrol
    Photo-Authentication
         Declaration
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